                                           Case 4:21-cv-00498-JST Document 92 Filed 04/06/23 Page 1 of 1




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     NILIMA AMIN, et al.,                               Case No. 21-cv-00498-JST (LJC)
                                                        Plaintiffs,
                                   8
                                                                                            FURTHER ORDER REGARDING
                                                 v.                                         JOINT DISCOVERY LETTER
                                   9

                                  10     SUBWAY RESTAURANTS, INC., et al.,                  Re: Dkt. Nos. 82, 90, 91
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          On April 5, 2023, this Court stayed resolution of the parties’ discovery dispute and its

                                  14   order that Plaintiff file a declaration showing good cause to set aside her untimely discovery

                                  15   responses. Dkt. 91. To avoid further delay in this matter, Plaintiff shall seek dismissal pursuant to

                                  16   Rule 41(a) of the Federal Rules of Civil Procedure by April 20, 2023. If the deadline is not met

                                  17   and the case proceeds, Plaintiff must file a declaration attesting to any facts demonstrating good

                                  18   cause by April 24, 2023, and the Court will rule on the parties’ discovery dispute.

                                  19          IT IS SO ORDERED.

                                  20   Dated: April 6, 2023

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                                                                                                    LISA J. CISNEROS
                                  23                                                                United States Magistrate Judge
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